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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )       CRIMINAL ACTION NO.
        v.                               )         2:11cr191-MHT
                                         )              (WO)
JEFFERY NOLAN BENNETT                    )


                                       ORDER

       It    is        ORDERED    that       defendant     Jeffery     Nolan

Bennett’s motion for appointment of counsel (doc. no.

652) is denied.

       There      is    no    constitutional     right     to   counsel     in

postconviction            proceedings.           See     Pennsylvania       v.

Finley,      481       U.S.   551,     555   (1987)     (“[T]he    right    to

appointed counsel extends to the first appeal of right,

and     no   further.”).          The    Eleventh       Circuit    Court    of

Appeals has held that there is no statutory right to

counsel      on    motions       for    sentence       reduction    under    a

similar statute, 18 U.S.C. § 3582(c)(2).                          See United

States v. Webb, 565 F.3d 789, 794 (11th Cir. 2009).

The court sees no reason for a different rule here.                         In

addition, the court finds that Bennett has sufficiently

raised the relevant factual issues and that the legal
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issues are not so complex that he needs the assistance

of counsel.

    DONE, this the 14th day of September, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
